                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                              ---------
UNITED STATES OF AMERICA,

                        Plaintiff,

              vs.

KEVIN DANIEL BAKER,

                        Defendant.
                                       /                  INDICTMENT

       The Grand Jury charges:

                                           COUNT 1
                                            (Arson)

        On or about January 17, 2021, in Kent County, in the Southern Division of the Western

District of Michigan,

                                     KEVIN DANIEL BAKER

maliciously damaged and attempted to destroy, by means of fire, a building used in interstate

commerce and engaged in activity affecting interstate commerce, specifically, a commercial

business bearing the address of 4259 Clyde Park Avenue in Wyoming, Michigan.

18 U.S.C. § 844(i)
                                          COUNT 2
                                (Possession of a Stolen Firearm)

        On or about January 18, 2021, in Kent County, in the Southern Division of the Western

District of Michigan,

                                      KEVIN DANIEL BAKER

knowingly possessed a loaded Ruger Model P89 9mm semiautomatic pistol, knowing and having

reasonable cause to believe that the firearm was stolen, and the firearm had been shipped or

transported in interstate commerce.

18 U.S.C. § 922(j)
18 U.S.C. § 924(a)(2)



                                                   A TRUE BILL


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                                                   GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney


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ERIN K. LANE
Assistant United States Attorney
